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   8                           UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
   10
   11 USA                                        Case No. 2:25−cr−00211−FLA
   12         Plaintiff(s),
                                                 STANDING ORDER
   13                     v.

   14 EUGENE HENLEY, JR. , et al.
   15         Defendant(s).

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   1    I.    INTRODUCTION

   2          This action has been assigned to the calendar of United States District Judge

   3    Fernando L. Aenlle-Rocha. Both the court and the parties’ counsel bear

   4    responsibility for the progress of this action. To ensure the just determination of

   5    this action, “to secure simplicity in procedure and fairness in administration, and

   6    to eliminate unjustifiable expense and delay,” Fed. R. Crim. P. 2, all parties or their

   7    counsel, including pro se defendants,1 are ordered to be familiar with the Federal

   8    Rules of Criminal Procedure, the Local Criminal Rules of the Central District of

   9    California (“Local Criminal Rules”), the applicable Local Civil Rules of the

   10   Central District of California (“Local Civil Rules”),2 and this court’s standing

   11   orders, online procedures, and schedules.

   12         Unless the court orders otherwise, the following rules shall apply.

   13   II.    GENERAL REQUIREMENTS

   14          A.       Filings

   15                  1.     Formatting

   16         The captioned title of every filing shall contain:

   17          a.      the name of the first-listed defendant as well as the name(s) and

   18               number(s) (in the order listed in the Indictment) of the particular

   19               defendant(s) to whom the filing applies, unless the document applies to

   20               all defendants;

   21          b.      the individual defendant’s registration number when applicable to the

   22               relief requested (e.g., requests for transfer, medical requests); and

   23   ///

   24
        ____________________
   25
        1 Parties appearing pro se must comply with the Federal Rules of Civil Procedure
   26   and the Local Rules. Local Civil Rules 1-3 and 83-2.2.3.
   27   2 “When applicable directly or by analogy, the Local [Civil] Rules of the Central
        District of California shall govern the conduct of criminal proceedings before the
   28   District Court, unless otherwise specified.” Local Criminal Rule 57-1.


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   1           c.      the milestone dates for Indictment, Final Pretrial Conference,

   2                 Trial, and Last Day of the speedy trial period.

   3         All parties shall docket items only as to the particular defendant(s) to whom

   4    the item pertains, rather than all defendants, unless the item pertains to all.

   5    Except for documents filed under seal or in camera, every document shall be filed

   6    electronically in such a way that it is clear from the docketing entry to which

   7    defendant(s) it applies. The outer envelope containing any document filed under

   8    seal or in camera should identify the case title by the first-listed defendant and

   9    case number only, and should state that the document is being filed under seal or

   10   in camera.

   11        Pursuant to Local Civil Rule 11-3.1.1, either a proportionally spaced or

   12   monospaced face may be used. Typeface shall comply with Local Civil Rule 11-

   13   3.1.1. Times New Roman font must be no less than fourteen (14) point, and Courier

   14   font must be no less than twelve (12) point. Footnotes shall be in the same font and

   15   the same size as the text in the body of the document.

   16        Counsel must follow the Central District's Local Rules and General Orders

   17   concerning electronic filing, unless superseded by this Order. Counsel shall adhere

   18   to Local Civil Rule 5-4.3 with respect to the conversion of all documents to .pdf so

   19   that when a document is e-filed, it is in the proper size and is .pdf searchable.

   20   Further, all documents shall be filed in a format so that text can be selected, copied,

   21   and pasted directly from the document. See Local Civil Rule 5-4.3.1.

   22                  2.     Warning re: Filing Under Seal

   23      Parties should pay close attention to the title in the caption of every

   24   document submitted to the court for filing under seal. The title of the document

   25   will become part of the public docket text when it is entered on the docket, even

   26   though the document itself will be sealed. If the title of the document contains

   27   confidential information that should not be reflected on the public docket,

   28   parties must submit the document with two cover sheets. The first cover


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   1    sheet must contain a generic title (e.g., “SEALED APPLICATION,” “SEALED

   2    MOTION,” “SEALED PROPOSED ORDER,” or “SEALED DOCUMENT”),

   3    rather than the actual title of the document. The second cover sheet must

   4    contain the full, unredacted title of the document. Docket entries for documents

   5    filed under seal will include only the generic title. All documents pertaining to the

   6    notice of manual filing must be emailed to the chambers email address:

   7    FLA_Chambers@cacd.uscourts.gov. Additional information is available at:

   8    https://www.cacd.uscourts.gov/court-procedures/filing-procedures/criminal-

   9    filing-procedures.

   10        B.        CHAMBERS COURTESY COPIES

   11        The processing of unnecessary chambers copies wastes resources and burdens

   12   the court. Chambers copies should not be submitted unless requested. This order,

   13   however, is not intended to affect the parties' ability to file and lodge documents

   14   and materials that are exempt from electronic filing under Local Criminal Rule

   15   49-1.2.

   16        The court refers the parties to the trial requirements listed below for details

   17   regarding mandatory chambers copies of trial exhibits.

   18        C.        CALENDAR CONFLICTS

   19        If any counsel discovers a calendar conflict with a scheduled appearance in a

   20   court of a more senior district judge, counsel must inform opposing counsel and

   21   the Courtroom Deputy Clerk via chambers email address at:

   22   FLAChambers@cacd.uscourts.gov as soon as possible and not later than three (3)

   23   business days before the scheduled appearance. Counsel should attempt to agree

   24   on a new date to accommodate the calendar conflict. Counsel must propose a new

   25   date by Stipulation and [Proposed] Order.

   26        D.        Attorney of Record at Hearings

   27        The court requires an attorney of record to appear at all hearings, and will not

   28   permit others to stand in on his or her behalf. If an attorney of record cannot appear


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   1    at a scheduled hearing due to unforeseen circumstances, the parties should follow

   2    the procedure outlined above as soon as the conflict arises.

   3    III.    PRE-TRIAL PROCEDURES

   4           A.      Continuances

   5           Requests for continuances of pretrial and trial dates must be by motion,

   6    stipulation, or application. All requests must contain wet signatures by both the

   7    defendant(s) and counsel. Each request must include a detailed factual showing of

   8    good cause and due diligence demonstrating the necessity for the continuance,

   9    stating whether any previous requests for continuances have been made and

   10   whether these requests were granted or denied by the court. The court will not grant

   11   requests to continue pretrial and trial dates absent the detailed showing. General

   12   statements are insufficient to establish good cause.

   13          To the extent the request to continue dates is joint, it should state clearly that

   14   the government and defendant(s) agree. To the extent the action is complex, one or

   15   more parties require additional time to prepare for trial, or other circumstances

   16   apply necessitating a continuance, the request should so state and describe in detail.

   17   A list of counsel's upcoming scheduled trials in other actions will not support a

   18   showing of good cause absent the following information regarding each such action

   19   listed: (1) the case name, case number, court where the action is pending, and the

   20   initials of the district judge or name of the state court judge assigned to the action;

   21   (2) the age of the action; (3) the nature of the offense(s) charged and complexity of

   22   the action; (4) the scheduled trial date; (5) the estimated length of trial; (6) the

   23   number of continuances previously granted; (7) the parties’ trial readiness; (8) the

   24   estimated likelihood a future continuance will be requested; and (9) the likelihood

   25   the trial will proceed on the scheduled date.

   26          Counsel shall file requests for continuance of trial at least one (1) week

   27   prior to the Final Pretrial Conference. A request to continue dates that have already

   28   expired constitutes a presumptive lack of due diligence. Requests extending dates


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   1    set by the court are not effective unless approved by the court.

   2          B.       Motions

   3          Motions shall be filed in accordance with Fed. R. Crim. P. 47 and Local

   4    Criminal Rule 49, et seq., unless superseded by this Order. Counsel must meet and

   5    confer with opposing counsel “to discuss thoroughly ... the substance of the

   6    contemplated motion and any potential resolution” thereof. Local Criminal Rule

   7    57-1; Local Civil Rule 7-3. Counsel shall discuss the issues to a sufficient degree

   8    that if a motion is still necessary, the briefing may be directed to those substantive

   9    issues requiring resolution by the court.

   10         Pretrial motions that require an evidentiary hearing shall be noticed for a non-

   11   Friday that is mutually agreed to by counsel and that is cleared with the Courtroom

   12   Deputy Clerk before the filing of the motion. For all motions other than motions in

   13   limine, the briefing schedule is as follows:

   14         •    motions shall be filed five (5) weeks prior to the hearing;

   15         •    oppositions or notices of non-opposition shall be filed three (3) weeks

   16              prior to the hearing; and

   17         •    replies, if any, shall be filed two (2) weeks prior to the hearing.

   18   All motions must be properly noticed for hearing no later than the date of the Final

   19   Pretrial Conference.

   20         The parties should not calendar a matter on a Friday that is a court holiday. If

   21   this occurs, the court will re-calendar the matter for another Friday. The parties

   22   must adhere to the briefing schedule set forth herein to afford the court adequate

   23   time to prepare for the hearing; however, the parties may stipulate to an alternate

   24   briefing schedule contingent upon approval by the court. Failure to comply with

   25   these deadlines may result in the court declining to consider the untimely

   26   memorandum or other document. Local Criminal Rule 57-1; Local Civil Rule

   27   7-12.

   28   ///


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   1          Memoranda of points and authorities in support of or in opposition to motions

   2    (besides motions in limine) shall not exceed 7,000 words. See Local Rule 11-6.1. A

   3    handwritten brief or a brief prepared using a typewriter may not exceed 25 pages,

   4    excluding the caption (if on a separate cover page), the table of contents, the table

   5    of authorities, the signature block, and any indices and exhibits. All submitted

   6    briefs must be accompanied by a Certificate of Compliance as set forth in Local

   7    Civil Rule 11-6.2. Replies shall not exceed 4,200 words or fifteen (15) pages for

   8    handwritten briefs and briefs prepared using a typewriter. Only in rare instances

   9    and for good cause shown will the court grant an application to extend these word

   10   and page limitations. No supplemental brief shall be filed without prior leave of

   11   leave of court.

   12         C.       Ex Parte Applications

   13         Ex parte applications are disfavored. The court considers ex parte applications

   14   on the papers and does not usually set these matters for hearing. If a hearing is

   15   necessary, the parties will be notified. Ex parte applications are solely for

   16   extraordinary relief and should be used with discretion. Sanctions may be imposed

   17   for misuse of ex parte applications. See Mission Power Eng’g Co. v. Cont’l Cas.

   18   Co., 883 F. Supp. 488 (C.D. Cal. 1995).

   19         Ex parte applications that fail to conform to Local Civil Rules 7-19 and 7-19.1,

   20   including a statement of opposing counsel’s position, will not be considered

   21   except upon a specific showing of good cause. The moving party shall serve the

   22   opposing party electronically, if possible. A party is considered served once the

   23   ex parte application has been e-filed. All parties registered for electronic service

   24   are sent a notification of ECF filing each time a document is e-filed with a link

   25   to the document for one free view. Defendants exempt from electronic service

   26   must be served the ex parte application by facsimile or personal service. See

   27   Local Criminal Rules 49-1.2, 49-1.3.2(b); Local Civil Rule 5-3.

   28   ///


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   1         Following service of the ex parte application by electronic, facsimile,

   2    or personal service, the moving party shall notify the opposing party that any

   3    opposition must be filed no later than twenty-four (24) hours following service.

   4    Counsel will be notified by ECF of the court’s ruling. If a party does not intend to

   5    oppose an ex parte application, counsel must promptly inform the Courtroom

   6    Deputy Clerk.

   7         Ex parte applications to allow defendants to travel should be made well in

   8    advance of the proposed date of travel. Counsel should state whether the Pretrial

   9    Services Officer has approved the travel. Applications by defendants with

   10   appointed counsel must indicate who will pay for the travel and related expenses.

   11   If these expenses are not to be paid by the defendant’s employer, the court may

   12   require declarations under penalty of perjury from the persons paying the expenses.

   13        D.        Motions in Limine

   14        Motions in limine fall outside the scope of Fed. R. Crim. P. 12 and address

   15   only the admission or exclusion of evidence at trial. Motions in limine will

   16   generally be heard and ruled upon at the Final Pretrial Conference. The court may

   17   rule orally instead of in writing. Each side is limited to five (5) motions in limine

   18   unless the court grants leave to file additional motions.

   19        All motions in limine must be filed at least twenty-eight (28) days before the

   20   Final Pretrial Conference. Oppositions must be filed at least fourteen (14) days

   21   before the Final Pretrial Conference. There shall be no replies. Motions in limine

   22   and oppositions must not exceed 2,800 words in length, or ten (10) pages for

   23   handwritten briefs and briefs prepared using a typewriter.

   24        Before filing a motion in limine, the parties must meet and confer to

   25   determine whether the opposing party intends to introduce the disputed evidence

   26   and attempt to reach an agreement that would obviate the need for the motion.

   27   Motions in limine should address specific issues (e.g., not “to exclude all

   28   hearsay”). The court may strike without further notice excessive, unvetted or


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1    untimely motions in limine.

2         E.        Notice and Discovery

3         Counsel shall comply with all notice and discovery obligations set forth in

4    Fed. R. Crim. P. 12, 12.1, 12.2, 12.3, 12.4, 15, and 16. The government shall

5    promptly produce to counsel for the defendant any evidence falling within the

6    scope of Fed. R. Crim. P. 16(a) Brady v. Maryland, 373 U.S. 83 (1963), Giglio

7    v. United States, 405 U.S. 150 (1972), Roviaro v. United States, 353 U.S. 53

8    (1957), and United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991). Defense

9    counsel shall comply with its reciprocal discovery obligations pursuant to Fed. R.

10   Crim. P. 16(b) and promptly produce such materials.

11        The parties shall make expert witness disclosures in accordance with Fed. R.

12   Crim. P. 16(a)(1)(G) and (b)(1)(C) at least thirty-five (35) days before the Final

13   Pretrial Conference.

14        The parties are encouraged to produce witness statements pursuant to

15   18 U.S.C. § 3500 and Fed. R. Crim. P. 26.2 sufficiently in advance of trial or other

16   proceeding to avoid delays. A violation by any party of this order, or by the

17   government in connection with its obligations under Brady, Giglio, Roviaro, or

18   Henthorn, may lead to a finding of contempt, imposition of sanctions, referral to a

19   disciplinary authority, adverse jury instructions, exclusion of evidence, or dismissal

20   of charges.

21        Counsel shall meet and confer to resolve discovery disputes informally prior

22   to filing a motion to compel discovery. All discovery motions shall state with

23   particularity what is requested, the basis for the request, whether the discovery at

24   issue has been requested, and opposing counsel’s response to such request. The

25   court may decline to hear discovery motions made without prior consultation

26   with opposing counsel.

27        F.        Bail Review

28        Any request for bail review based on changed circumstances or information


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1    not previously presented to the Magistrate Judge shall be addressed in the first

2    instance to the Magistrate Judge and shall be served on both opposing counsel

3    and the United States Probation and Pretrial Services Office.

4    IV. TRIAL PROCEDURES

5          A.       Final Pretrial Conference Requirements

6          No later than one (1) week before the Final Pretrial Conference, the

7    government shall file the following pretrial documents:

8          •     A trial memorandum;

9          •     A witness list;

10         •     An exhibit list;

11         •     A case-specific glossary for the Courtroom Deputy Clerk;

12         •     Joint jury instructions in the form described below;

13         •     A joint proposed verdict form; and

14         •     Proposed voir dire questions, if any.

15         The government shall email copies of: (1) its witness list, (2) its exhibit list,

16   (3) the joint jury instructions, (4) the joint proposed verdict form, and (5)

17   proposed voir dire questions, including any amended documents, in Microsoft

18   Word format to chambers at: FLA_Chambers@cacd.uscourts.gov, no later

19   than one (1) week before the Final Pretrial Conference.

20               1.    Trial Memorandum

21         The government’s trial memorandum shall set forth: (i) a factual summary of

22   the government’s case-in-chief; (ii) a statement of the charges and the elements of

23   each charge; (iii) a time estimate of the length of the government’s case-in-chief,

24   including anticipated cross-examination; and (iv) a discussion of relevant legal

25   and evidentiary issues as applied to the facts of the particular case. The government

26   shall specify, after a meet and confer, whether the parties agree or disagree on

27   matters (i) through (iv).

28   ///


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1                2.   Witness Lists

2         Witness lists must identify all potential witnesses, and must be in the format

3    specified in Local Civil Rule 16-5. The lists must include for each witness: (i) a

4    brief description of the testimony; (ii) the reasons the testimony is unique and not

5    redundant; and (iii) a time estimate in hours for direct and cross-examination. The

6    parties should use the template posted to Judge Aenlle-Rocha’s webpage. Any

7    Amended Witness List must be filed by 12:00 p.m. (noon) on the Friday before

8    trial and emailed to FLA_Chambers@cacd.uscourts.gov in Microsoft Word format.

9                3.   Exhibit Lists

10        Exhibit Lists must: (1) be in the format specified in Local Civil Rule 16-6;

11   (2) include an additional column stating any objections to authenticity and/or

12   admissibility; and (3) state the reasons for the objections. The parties should use

13   the template posted to Judge Aenlle-Rocha’s webpage. Exhibits shall be numbered

14   sequentially 1, 2, 3, etc., not 1.1, 1.2, 1.3, etc. See Local Civil Rule 16-6. The list

15   should include defense exhibits to the extent the defense does not object to

16   disclosure. Any Amended Exhibit List must be filed by 12:00 p.m. (noon) on the

17   Friday before trial and emailed to FLA_Chambers@cacd.uscourts.gov in Microsoft

18   Word format.

19               4.   Case-Specific Glossary

20        The parties must provide a case-specific glossary for the court reporter that

21   includes applicable medical, scientific, or technical terms, gang terms, slang, the

22   names and spellings of case names likely to be cited, street/city/country names, all

23   parties/agents/departments/entities involved in the case, names of people

24   interviewed/deposed, names of family members, friends, or others who might be

25   mentioned, and other case-specific terminology.

26               5.   Jury Instructions

27        The parties shall file clean and redline sets of their (1) Joint Agreed Upon

28   Proposed Jury Instructions, and (2) Disputed Jury Instructions. The redline sets


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1    shall include all modifications made by the parties to pattern or model jury

2    instructions, any disputed language, and the factual or legal basis for each party’s

3    position as to each disputed instruction.

4         Sources: When possible, all instructions should be taken from the Manual

5    of Model Criminal Jury Instructions for the Ninth Circuit (West Publishing Co.,

6    current edition). Where no applicable Ninth Circuit model instruction is available,

7    counsel should consult the instructions from O’Malley, Grenig & Lee (formerly

8    Devitt, et al.), Federal Jury Practice and Instructions (West Publishing Co.,

9    current edition). When submitting other than Ninth Circuit model instructions,

10   counsel should ensure the law on which the instruction is based is consistent with

11   Ninth Circuit case law on the subject. Counsel may submit alternatives to the

12   Ninth Circuit model jury instructions or O’Malley, Grenig & Lee instructions only

13   if counsel has a reasoned argument that those instructions do not properly state

14   the law or are incomplete. The court seldom gives instructions derived solely

15   from case law.

16        Format: Each requested instruction shall (1) cite the authority or source of

17   the instruction, (2) be set forth in full, (3) be on a separate page, (4) be numbered,

18   (5) cover only one subject or principle of law, and (6) not repeat principles of law

19   contained in any other requested instruction. Jury instructions should be modified

20   as necessary to fit the facts of the case (e.g., inserting names of defendant(s) or

21   witness(es) to whom an instruction applies). Where language appears in brackets

22   in the model instruction, counsel shall select the appropriate text and eliminate

23   the inapplicable bracketed text.

24        For any disputed instruction, the opponent shall state on a separate page

25   following the disputed instruction: (a) the basis for the objection; (b) authority

26   supporting the objection; and (c) an alternative instruction (if applicable). On the

27   following page, the proponent shall briefly respond to the objection with supporting

28   authority. Where appropriate, the disputed instructions shall be organized by


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1    subject, so that instructions that address the same or similar issues are presented

2    sequentially. If there are excessive or frivolous disagreements over jury

3    instructions, the court will order the parties to meet and confer immediately until

4    they substantially narrow their disagreements.

5         Index: All proposed jury instructions must have a consecutively numbered

6    joint index that lists the instructions in the order they will be given. Disputed

7    instructions should be included in the index. The court will renumber the jury

8    instructions once they are finalized. The joint index should include the following

9    for each instruction, as illustrated in the example below:

10               • the number of the instruction;

11               • the title of the instruction;

12               • the source of the instruction and any relevant case citations; and

13               • the page number of the instruction.

14   Example:

15    Instruction
      Number             Title                      Source                  Page Number
16    #1                 Conspiracy-Elements        9th Cir. 8.5.1               1
17        Counsel also shall list the instructions in the order they will be given and
18   indicate whether the instructions shall be read before opening statement, during
19   trial, or before closing arguments.
20        Copies of the instructions will be given to the jury during deliberations.
21   Accordingly, counsel must email FLA_Chambers@cacd.uscourts.gov a “clean”
22   set of all instructions in Microsoft Word format, containing only the text of each
23   instruction, set forth in full on each page, with the caption “Court's Instruction
24   No. ____” (eliminating the title and source of the instruction, supporting
25   authority, etc.).
26        B.        Trial Requirements
27        Trial days are generally Monday through Thursday, from 8:15 a.m. through
28   2:30 p.m. On the first day of trial, the court will address initially preliminary

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1     matters and call a jury panel only when it is satisfied the case is ready for trial.

2     Jury selection usually takes a few hours. The parties should be prepared to proceed

3     with opening statements and witness examination immediately after jury selection.

4          Fridays are usually reserved for the court's calendar. In the event the court's

5     calendar allows trial to proceed on Friday, the court will inform the parties during

6     the Final Pretrial Conference. Once the trial concludes, the jury will be expected

7     to deliberate Monday through Friday.

8          Any party requesting special court reporter services (i.e., “RealTime”

9     transmission, daily transcripts) shall notify the reporter at least two (2) weeks in

10    advance.

11                  1.   Timing of Government Materials

12         The government must present the following materials to the Courtroom

13    Deputy Clerk before trial begins on the first day:

14               1. Three (3) copies of the indictment/information;

15               2. Three (3) copies of the government’s witness list;

16               3. Three (3) copies of the government’s exhibit list; and

17               4. All government exhibits in accordance with § IV.B.3 below.

18                  2.   Timing of Defense Materials

19         Defense counsel shall provide the government and the Courtroom Deputy the

20    defense witness list and exhibit list at the start of the defense case, at the latest.

21    Defense counsel shall also simultaneously email

22    FLA_Chambers@cacd.uscourts.gov a Microsoft Word version of the defense

23    witness list and defense exhibit list. Defense exhibits shall be submitted at the

24    same time in accordance with § IV.B.3 (“Trial Exhibits”) below.

25                  3.   Trial Exhibits

26         Trial exhibits that consist of documents and photographs must be submitted to

27    the court in three-ring binders. The parties shall submit to the court three sets of

28    binders: one (1) original set of trial exhibits, and two (2) copies of trial exhibits.


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1    The original set of exhibits shall be for use by the jury during its deliberations, and

2    the two copies are for the court. The parties should prepare additional copies of

3    exhibits for their own use and for use by witnesses. Before the admitted exhibits

4    will be given to the jury for deliberation, the parties must review the exhibit list

5    and exhibit binders with the Courtroom Deputy Clerk after closing arguments.

6         All exhibits placed in three-ring binders must be indexed by exhibit number

7    with tabs or dividers on the right side. Exhibits shall be numbered sequentially 1, 2,

8    3, etc., not 1.1, 1.2, etc. See Local Civil Rule 16-6. Every page of a multi-page

9    exhibit must be numbered. Defendant’s exhibit numbers shall not duplicate the

10   government’s numbers. The spine of each binder shall indicate the volume number

11   and the range of exhibit numbers included in the volume.

12        The original exhibits shall bear the official exhibit tags (yellow tags for

13   the government’s exhibits and blue tags for defendant’s exhibits) affixed to the

14   front upper right-hand corner of the exhibit, with the case number, case name,

15   and exhibit number stated on each tag. The copy of exhibits must bear copies

16   of the official exhibit tags that were placed on the original exhibits and be

17   indexed with tabs or dividers on the right side. Tags may be obtained from

18   the Clerk’s Office, or the parties may print their own exhibit tags using Forms

19   G-14A and G-14B on the “Court Forms” section of the court’s website at:

20   http://www.cacd.uscourts.gov/forms/exhibit−tags−plaintiff−g−14a−defendant−g−14b−

21   joint−g−14c.

22        The government must also submit to the court a USB flash drive containing

23   electronic versions of all exhibits before trial begins. Defense counsel must provide

24   a USB flash drive containing electronic versions of all exhibits at the start of the

25   defense case, at the latest. The document file names should include the exhibit

26   number and a brief description of the document, for example: “Ex. 1 - Smith

27   Declaration.pdf” or “Ex. 105 - Letter Dated 1-5-20.pdf.”

28        The court provides audio/visual equipment for use during trial. The parties are


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1    encouraged to use it. More information is available at:

2    http://www.cacd.uscourts.gov/clerk-services/courtroom-technology.

3    If any counsel wishes to arrange for the use of additional equipment, counsel shall

4    contact (213) 894-3061 to verify and/or reserve demonstrative equipment and

5    notify the Courtroom Deputy Clerk no later than 4:00 p.m. at least one (1) week

6    before trial so that the necessary arrangements may be made.

7         The court does not permit exhibits to be “published” to the jurors before

8    they are admitted into evidence. Once admitted, exhibits may be displayed

9    electronically using the equipment and screens in the courtroom. Counsel shall not

10   attempt to display or use any charts or enlargements of exhibits unless all counsel

11   have agreed to their use or objections have been heard and a ruling has been made

12   by the court.

13        Exhibits such as weapons and narcotics must remain in the custody of a law

14   enforcement agent during the pendency of the trial. It shall be the responsibility

15   of the agent to produce any such items for court, secure them at night, and guard

16   them at all times while in the courtroom. The United States Marshals Service shall

17   be advised well in advance if weapons or contraband are to be brought into the

18   courthouse.

19   V.   CONDUCT OF ATTORNEYS AND PARTIES

20        A.        Meeting and Conferring Throughout Trial

21        The parties must continue to meet and confer on all issues that arise during

22   trial. The court will not rule on any such issue unless the parties have first

23   attempted to resolve it informally.

24        B.        Opening Statements, Witness Examinations, and Summation

25        Counsel shall not discuss the law or argue the case in opening statements.

26   Counsel must use the lectern. Counsel should not consume jury time by writing out

27   words and drawing charts or diagrams. All such aids must be prepared in advance.

28   When appropriate, the court will establish and enforce time limits for all phases of


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1    trial, including opening statements, closing arguments, and the examination of

2    witnesses.

3         C.        Objections to Questions

4         Counsel must not make speaking objections before the jury or otherwise make

5    speeches, restate testimony, or attempt to guide a witness.

6         When objecting, counsel must rise to state the objection and state only that

7    counsel objects and the legal grounds for the objection. If counsel desires to argue

8    an objection further, counsel must seek permission from the court to do so at

9    sidebar or outside the jury’s presence.

10        D.        General Decorum While in Session

11        1.   Counsel must not approach the Courtroom Deputy Clerk, the jury box,

12   or the witness stand without court authorization and must return to the lectern when

13   the purpose for the approach has been accomplished.

14        2.   Counsel must rise when addressing the court and when the court or

15   the jury enters or leaves the courtroom, unless directed otherwise.

16        3.   Counsel must address all remarks to the court. Counsel must not address

17   the Courtroom Deputy Clerk, the court reporter, persons in the audience, or

18   opposing counsel. Any request to re-read questions or answers shall be addressed to

19   the court. Counsel must ask the court’s permission to speak with opposing counsel.

20        4.   Counsel must not address or refer to witnesses or parties by first

21   names alone, except for witnesses who are below age fourteen (14).

22        5. Counsel must not offer a stipulation unless counsel have conferred

23   with opposing counsel and have verified that the stipulation will be acceptable. Any

24   stipulation of fact will require the defendant’s personal concurrence and shall be

25   submitted to the court in writing for approval. A proposed stipulation should be

26   explained to the defendant in advance.

27        6. Counsel must remain at counsel table throughout trial except to examine

28   witnesses or as otherwise needed to present evidence. Counsel must not leave


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1    counsel table to sit in the gallery or confer with any person in the back of the

2    courtroom without the court’s permission.

3         7. Counsel must not make facial expressions, nod, shake their heads,

4    comment, or otherwise exhibit in any way any agreement, disagreement, or other

5    opinion or belief concerning the testimony of a witness or argument by opposing

6    counsel. Counsel shall instruct their clients and witnesses not to engage in such

7    conduct.

8         8. Counsel must never speak to jurors under any circumstance, and must

9    not speak to co-counsel, opposing counsel, witnesses, or clients if the conversation

10   can be overheard by jurors. Counsel must instruct their clients and witnesses to

11   avoid such conduct.

12        9. Where a party has more than one lawyer, only one attorney may

13   conduct the direct or cross-examination of a particular witness or make objections

14   as to that witness.

15        10.   Bottled water is permitted in the courtroom but may not be placed

16   on counsel table or the lectern. Food and other beverages are not permitted. Cell

17   phones must be silenced or may be confiscated.

18        E.        Promptness

19        1.    The court expects the parties, counsel, and witnesses to be prompt.

20   Once the parties and their counsel are engaged in trial, the trial must be their

21   priority. The court will not delay progress of the trial or inconvenience jurors.

22        2.    If a witness was on the stand at the time of a recess or adjournment,

23   the party that called the witness shall ensure the witness is back on the stand

24   and ready to proceed as soon as trial resumes.

25        3.    The parties must notify the Courtroom Deputy Clerk in advance if

26   any party, counsel, or witness requires a reasonable accommodation based on a

27   disability or other reason.

28        4.    No presenting party may be without witnesses. If a party’s remaining


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1    witnesses are not immediately available, thereby causing an unreasonable delay,

2    the court may deem that party to have rested.

3         5.   The court generally will accommodate witnesses by permitting them

4    to be called out of sequence. Counsel should meet and confer in advance and

5    make every effort to resolve the matter.

6         F.        Exhibits

7         1.   No document shall be placed before a witness unless a copy has been

8    provided to the court and opposing counsel.

9         2.   Once they are admitted in evidence, exhibits may be displayed to the

10   jury using the monitors in the courtroom. The court ordinarily does not permit

11   exhibits to be handed to the jury in the jury box. In the event an exhibit cannot be

12   displayed properly via the monitors in the courtroom, counsel must secure approval

13   by the court before handing an exhibit to the jury.

14        3.   Counsel must keep track of their exhibits and exhibit list, and record

15   when each exhibit has been admitted into evidence.

16        4.   Counsel are responsible for any exhibits they secure from the

17   Courtroom Deputy Clerk and must return them before leaving the courtroom.

18        5.   Any exhibit not previously marked must be accompanied by a request

19   that it be marked for identification at the time of its first mention. Counsel must

20   show a new exhibit to opposing counsel before the court session in which it is

21   mentioned.

22        6.   Counsel must inform the Courtroom Deputy Clerk of any agreements

23   reached regarding any proposed exhibits, as well as those exhibits that may be

24   received into evidence without a motion to admit.

25        7.   When referring to an exhibit, counsel must refer to its exhibit number.

26   Counsel should instruct their witnesses to do the same.

27        8.   Counsel should not ask witnesses to draw charts or diagrams or ask

28   the court’s permission for a witness to do so. All demonstrative aids must be


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1    prepared fully in advance of the day’s trial session.

2    VI.     SENTENCING

3            Original Sentencing. Once set, the sentencing hearing shall not be

4    continued absent a showing of good cause. No later than fourteen (14) days

5    before the hearing, each party shall submit either a sentencing memorandum or a

6    written notice of intent not to file one. Absent leave of court based upon a showing

7    of good cause, the court does not permit submission or playing of sentencing

8    videos.

9            The court does not permit sentencing documents to be filed under seal

10   except as strictly necessary and justified. When necessary, a sentencing document

11   may be filed under seal along with a redacted version that deletes the confidential

12   information and that justifies each deletion (e.g., “medical information”).

13           Supervision Violation. Any material submitted for a hearing on an alleged

14   or adjudicated violation of supervision shall be filed, when possible, seven (7) days

15   before the hearing, and otherwise no later than two (2) court days, absent a

16   showing of good cause set forth in a supporting declaration and court approval.

17
           IT IS SO ORDERED.
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19 Dated: April 8, 2025
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